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                                 UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                                               011-~s~~ 2~~
DR. JEFFREY ISAACS
                                        Plaintiff,                           Case No.

vs.

DARTMOUTH HITCHCOCK MEDICAL CENTER,
GEISEL SCHOOL OF MEDICINE AT DARTMOUTH,
USC KECK SCHOOL OF MEDICINE,
NH BOARD OF MEDICINE (individually)                                                  RECEIVED
                                                                            CLERK, U.S. DISTRICT COURT
           and
JOHN or JANE DOE
                            Defendants.                                           I~fA~ t ~ 2QIg
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                                                                          ='Y                       DEPUTY
        PLAINTIFF'S ORIGINAL COMPLAINT AN

                                       I.      INTRODUCTION

      1. This case describes a small group of individuals with a nexus as academic medicine

         leaders from Harvard Medical School, who, owing to a personal vendetta, coordinated

         predicate acts over more than a decade to successfully ruin the Plaintiffls medical career

         and reputation.

      2. In their small world controlling billion dollar NIH grants and coveted Ivy league medical

         school spots, they successfully recruited new actors each time Plaintiff went to a new

         institution where they had influence. They subverted institutional policies and generally

         pulled strings, as evidence will show, without having to answer to anyone for years, until,

         upon information and belief, the Executive Branch began to ask questions.

      3. Specifically, this matter originated with a dispute dating back to 2005, between Plaintiff,

         a promising young medical student, and one Robert Baughman, a former NIH director,
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      Harvard professor, and member of the White House Committee on Counterterrorism.

      Baughman had overseen a substantial $40 million dollar grant to the Keck School of

      Medicine, where his child was subsequently accepted with Dr. Isaacs into the MD Class

      of 2009. A dispute arose between Isaacs and the younger Baughman, and the school was

      alleged to have improperly yielded to the NIH donor, when they severely disciplined the

      Plaintiff. After protracted litigation in this District, a settlement agreement was reached

      that sealed all disciplinary records, dismissed all administrative charges, and cancelled all

      contracts between the parties. Years went by; Isaacs excelled without further incident at

      international medical school with training in London, Singapore, and New York and

      Florida, and achieved a top decile national board score higher than the average

      neurosurgeon.

   4. His achievement and persistence fueled an organized and relentless retaliation against

      him that continues to the present day. With his newly achieved medical diploma, Dr.

      Isaacs began residency training at Dartmouth. Knowledge of the sealed USC controversy,

      through John Doe, reached Dartmouth's medical school some five years after it began.

      John Doe's identity has been never been revealed by the Defendants and the Defendants

      have taken steps to conceal his or her identity. Motivated by John Doe's influence,

      Isaacs's arrival at Dartmouth was met with the strongest resistance. He was treated

      unethically and suffered extraordinary stress. Representative of the actions intended to

      break him down, he was ordered to conduct two unnecessary prostate exams his first two

       days of residency. Dartmouth terminated Isaacs without the normal peer review hearing

       process required by hospital bylaws.
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   5. Former Dartmouth &World Bank President Jim Yong Kim was notified to preserve

      evidence for federal court review of the circumstances. Within a week, Dr. Isaacs' emails

      and medical records at Dartmouth completely disappeared. Ultimately, the corruption

      extended from high academia to government officials. Dartmouth sent the sealed Keck

      records to the New Hampshire Board of Medicine. The Board, in turn, published the

      false, sealed records on the Internet, declaring them to have never been sealed.

   6. Such activity precisely captures why Congress enacted the RICO Act — to prevent and

      expose the infiltration of legitimate institutions by corrupt individuals. To be sure, each

      institution named in this lawsuit is an otherwise venerable institution where the Plaintiff

      did, and does, seek to resume his medical research career. The Defendants executed

      constant, longstanding, and corrupt schemes intended to deprive Plaintiff of his medical

      career. Indeed, Plaintiff's fourteen year saga to practice medicine is unheard of for a

      physician with his top academic ranking and no other bar to employment.

   7. As a jury shall determine, Defendants willfully violated RICO statutes over a fourteen

      year period by recruiting new individuals to carry out an orchestrated pattern of

      retaliations, due process violations, and judicial obstructions meant to prevent Dr Isaacs

      from ever becoming a doctor.

                             II.     JURISDICTION AND VENUE

   12. Venue in the California Southern District is proper because the dispute transpired and

      originated in the district. Additionally, the settlement agreement and disclosures by John

      or Jane Doe, central to this case, necessarily stemmed from this district. The Plaintiff was

      retaliated against, for fourteen years, because he was a witness in an official proceeding

      in this district.
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   13. Jurisdiction in this Court arises under 28 U.S.C. § 1331, for federal questions presented

      pursuant to 18 U.S.C. § 1965(RICO). Jurisdiction for injunctive and other causes of

      action is invoked pursuant to 28 U.S.C. § 1332.

                                         III.    PARTIES

   14. Plaintiff Dr. Jeffrey Isaacs is a citizen of the Commonwealth of Pennsylvania. Dr. Isaacs

      holds an A.B. from Dartmouth College, an MBA from Wharton/Insead, and an M.D.

      issued in 2010 from the American University of the Caribbean. He began medical

      training with Defendant Keck in 2005. Fourteen years after federal controversy

      commenced, the Defendants continue to improperly prevent him from obtaining

      necessary federally funded residency(GME)training for medical licensure.

   15. Defendant New Hampshire Board of Medicine is a group of individuals who convene at

      121 South Fruit Street, Suite 301, Concord, NH 03301-2412 under the color of New

      Hampshire state law. The individuals, specifically, include prosecutor and investigator

      Jeff Cahill, administrator Penny Taylor, and the voting members of the Board. The

      individuals shall be considered to be enumerated defendants in the caption of this lawsuit,

      and shall be served and noticed in accordance with local and FRCP.

   16. Defendant Dartmouth Hitchcock Medical Center is anon-profit corporation with a

      principal address of One Medical Center Drive, Lebanon, NH 03756. Defendant

      Dartmouth Hitchcock Medical Center does not have a registered agent in the State of

      New Hampshire. Plaintiff was a salaried employee of Mary Hitchcock Memorial

      Hospital, related to DHMC,but was a student trainee of Dartmouth College.

   17. Defendant Geisel School of Medicine is a DBA for Trustees of Dartmouth College which

      has a principal office address at 63 South Main Street, Ste. 301, Hanover, NH 03755 and
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      no registered agent. According to its webpage, the Board of Trustees "has ultimate

      responsibility for the financial, administrative and academic affairs of [Dartmouth]

      College.' Plaintiff's applications to study GME have been declined as recently as

      November 2018 by faculty employed by or associated with the College.

   18. Defendant USC Keck School of Medicine ("Keck") is located at 1975 Zonal Avenue in

      Los Angeles, in the Southern California District. In 2008, Plaintiff and Keck settled a

      lawsuit in this district, CV-06-3338-GAF. This complaint alleges witness retaliation to

      present day for disclosure of federal violations in said settled litigation.

   19. Information about John and/or Jane Doe will be amended when available.

                                  IV.     FACTUAL HISTORY

   20. In August 2005, the Plaintiff matriculated into the Class of 2009 M.D. program at the

      Keck School of Medicine at University of Southern California.

  21. During the first semester, a relationship with a fellow Keck Classmate, one A.B., turned

      sour. A.B. made threatening statements to the Plaintiff, such as "I got into Keck through

      my connections, I'll get a residency through my connections, don't mess with me." 1

  22. At the time, email return receipt technology was new and developing. An electronic

      message Plaintiff had sent to A.B. started registering return receipts at NIH headquarters

      and the Zilkha Neuroscience Center Executive Office at Keck.

  23. Shortly thereafter, USC Security served Plaintiff with a "stay-away" order from

      classmate A.B.

      1 Indeed, A.B. has attained faculty appointment at Harvard Medical School, while

      Plaintiff —with his higher merit scores —has spent well over a decade trying to correct the

      wrongs inflicted by the Defendants.
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  24. At the suggestion of the Keck Administration, A.B. sought to press charges with the

     LAPD for a paragraph of electronic written messages, sent by the Plaintiff, which she

     purported to be insulting. The LAPD, however, declined to press charges related to the

     petty dispute.

  25. At the time, Plaintiff alleged the "stay-away" order was being used to embarrass him

     amongst his classmates. Plaintiff had difficulty complying with said order given that

     there were only three lecture rooms used by the one hundred members of the Class of

     2009 M. D. program.

  26. As evidenced by the return receipts, in conjunction with A.B.'s statement concerning

     connections, Plaintiff realized A.B.s father, head of Neurological NIH, was

     communicating with Keck's new Dean, Brian Henderson, who had recently been

     promoted after securing millions in funding for the new Zilkha Neuroscience Center.

  27. Plaintiffs academic performance began to deteriorate because of the distraction created

     by the stay away order. He telephoned A.B. and offered his apology for his role in the

     aforementioned dispute, hoping to de-escalate the situation. A.B. initially accepted the

     apology.

  28. However, the Junior Keck Dean, Peter Katsufrakis, brought Plaintiff before the Keck

     Student Performance Committee, and expelled him for apologizing to A.B. while the

     stay-away order was under effect.

  29. Plaintiff was hospitalized with what appears to have been an Adjustment Disorder,

     stemming from the trauma of being expelled.

  30. Plaintiff filed a federal lawsuit, CV-06-3338-GAF,against Keck, Henderson, Katsufrakis,

     and A.B's father.
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   31. For unknown reasons, in 2006 Deans Henderson and Katsufrakis left their Deanship

      posts at Keck. Additionally, A.Bs father left the NIH to move to Okinawa, Japan.

   32. After two years of alleged discovery evasion taking advantage of Isaacs' pro se status,

      Keck finally agreed to settle the claims with Isaacs.

   33. Dr. Isaacs executed the first settlement agreement with the University of Southern

      California in 2007. AR 000032(See Attached). That settlement dismissed the individual

      defendants from the suit, including the USC Dean and a National Institutes of Health

      official. Paragraph 2 of that Agreement was entitled "Sealing of Disciplinary Records,"

      and read:

         "In exchange for the Dismissal with Prejudice of the Individual Defendants,

          referenced above, Defendant USC agrees that commencing immediately upon the

          execution of this Settlement Agreement and receipt of the signed Dismissal with

          Prejudice, USC will not release or disclose Isaacs' disciplinary records to any third

         party, including but limited to other educational institutions and/or potential

          employers, unless it receives written consent from Isaacs or a subpoena or court

          order."

  34. The only consideration Isaacs received for dismissing his case under the first settlement

      agreement was the sealing of his disciplinary records.

  35. The intent of the settlement was to allow Isaacs, who was already well in his second year

      of medical school at AUC,to move on and continue his career in medicine.

  36. A second settlement agreement between USC and Dr. Isaacs ended the litigation with that

      institution. AR 000031 (See Exhibit). The excerpted paragraph 8 of that agreement

      stated that, "[a]s a material inducement to Isaacs to enter into this Agreement, USC does
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      hereby irrevocably release, acquit and forever discharge Isaacs from any and all charges .

       . obligations, promises, agreements ... of any nature whatsoever, known or unknown . .

      .~~ la.
   37. This settlement agreement further dismissed any outstanding administrative charges

      against Dr. Isaacs. AR 000462(See Attached).

   38. Based primarily on the quoted language of the two settlement agreements and the advice

      of his attorney at the time, Dr. Isaacs understood that anything relating to his attendance

      at Keck was sealed and could not be disclosed by anyone, including Dr. Isaacs.

  39. There are very few cases of sealed disciplinary academic records, and little legal

      precedent as to how they should be handled by the courts.

  40. Here, the authoritative federal statutory regulation is 20 U.S. Code § 1232g -Family

      educational and privacy rights.

  41. Specifically, the provision dealing with disciplinary records is instructive:

         (h)Disciplinary records; disclosure

          Nothing in this section shall prohibit an educational agency or institution from

         (1)including       appropriate      information       in     the      education record of

          any student concerning disciplinary action taken against such student for conduct that

          posed a significant risk to the safety or well-being of that student, other students, or

          other members of the school community; or(2) disclosing such information

          to teachers and school officials, including teachers and school officials in other

          schools, who have legitimate educational interests in the behavior of the student.(i)

          Drug and alcohol violation disclosures
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   42. In simple terms, FERPA and other routine liability laws normally would grant Keck an

      absolute right and duty to disclose a student's disciplinary records to another university

      with a vested interest.

   43. By "sealing" the disciplinary records so that future disclosure would be prohibited, and

      hence outside the realm of FERPA,Keck expunged Isaacs' student record.

   44. If they hadn't intended to expunge those records with these settlement agreements, Keck

      would be in violation of FERPA and other routine liability laws by failing to report the

      discipline to an educational institute with an interest in knowing.

   45. With the knowledge that the settlement agreements placed his issues at Keck behind him,

      Isaacs proceeded in an international medical program, and finished ahead of schedule in 3

     /2 years without incident.
     '

  46. His medical training included clerkship training at St. George's University London,

      Cleveland Clinic and Mt. Sinai School of Medicine (NY). Dr. Isaacs received strong

      reviews, mostly honors, from supervising professors at more than twelve different

      clerkships at the aforementioned institutions.

  47. Dr. Isaacs received his medical degree in 2010 after he placed in the top decile on the

      highly competitive United States Medical Licensure Exam Step 1.

  48. In July 2011, Isaacs was admitted to a federally funded Graduate Medical Education

      program ("medical residency") at Dartmouth Medical School, and their associated

      teaching hospital, DHMGHitchcock.

  49. Within days of arriving at Dartmouth, Isaacs's health took an immediate and substantial

      turn for the worse. Previously able to work thirty hour surgery shifts, suddenly Isaacs had

      difficulty staying awake for more than three hours at a time.
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    50. Isaacs additionally had new chest palpitations and shortness of breath which persisted

        even upon returning home from work.

    51. Another resident, who Isaacs has never met to this day, sent a complaint to Dartmouth's

        Internal Medicine Program Director, Harley Friedman, asserting she heard about Isaacs'

        mistreatment and felt his supervisor, Dr. Khagi, should be replaced.

    52. Dr. Friedman wrote back to the complainant, dismissing her concern, and coercing her to

        turn on Isaacs. This evidences the beginning of Dartmouth's involvement in a

        longstanding pattern of predicate acts, by recruiting others individuals at Dartmouth to

        violate and suppress Isaacs's rights as a student physician.

    53. Dr. Khagi ordered Isaacs to conduct two digital rectal exams(DBEs) during his first 2-3

        days of residency.

    54. The exams were unnecessary for medical treatment. One patient had terminal metastatic

       cancer, and to this day, Isaacs recalls the patient's shock when he was informed he

       needed a prostate exam to look fora "cancer source" per Dr. Khagi's instruction.

    55. The exams were not for medical training.

    56. The exams were meant to humiliate Isaacs for his past at Keck.

    57. A plethora of other false situations were created for Isaacs. He was often left in silence as

       his supervisors watched him not knowing what to do in a new hospital, and purposefully

       failed to instruct him.

    58. Dartmouth accepted federal funds to train Isaacs.

   59. Their schemes to humiliate Isaacs denied him any semblance of reasonable training. As

       such, Dartmouth benefitted inappropriately from receipt of federal funds.
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    60. At least six Dartmouth administrators, under oath in federal depositions, falsely stated

       they learned of Keck at the end of Isaacs' six months of internship employment, no

       earlier than January 2012.(See Exhibit).

    61. These administrators committed perjury in order to further the enterprise of revenging

       Isaacs, assassinating his reputation, and ending his medical career. Had Dartmouth

       admitted they possessed knowledge of the sealed Keck records in June 2011, it would

       support the timeline alleged by Isaacs' claims of mistreatment. Thus, they had to submit

       perjured testimony that they only learned about Keck in January 2012.

    62. In fact, in early November 2011, Harley Friedman interviewed Isaacs's replacement from

       his same Caribbean medical program, one Jeremy Whyman MD. Until then, Dartmouth

       had never accepted a student from the Caribbean.

   63. Upon information and belief, no later than November 2011, Dartmouth sought Isaacs'

       medical records from Keck, the Caribbean, and other places he had studied.

   64. Dartmouth directly communicated with the schools Isaacs had previously attended.

   65. Dartmouth even emailed Isaacs' Wharton MBA program subsidiary in France to obtain

       records.

   66. Dartmouth was obtaining these records to research the information they had from John

       Doe concerning Keck.

   67. Upon information and belief, at the time Dartmouth attempted to verify the situation

       with, but Keck refused to release the expunged disciplinary records to Dartmouth.

   68. Dartmouth was left with a dilemma of both having information about the sealed records,

       causing the ongoing situation of widespread mistreatment of Isaacs at his internship, and

       their knowledge in fact that their sealed legal status was improper to use against Isaacs. In
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       short, the dilemma escalated over six months with Dartmouth unable to handle the

       situation in any ethical or legal fashion.

    69. Dartmouth refuses to answer, despite years of discovery requests, how and when exactly

       they had learned that Dr. Isaacs attended Keck.

    70. Around Thanksgiving 2011, one Jeffrey Simon MD told Plaintiff"I don't know what you

       did in your past, but you're right, they're trying to get rid of you."

    71. On October 12, 2011, Dr. Isaacs completed an actigraph study with Dartmouth's Sleep

       Medicine program to address his inability to stay awake. The results of this study were

       that Dr. Isaacs was unable to stay awake for more than 3 hours at work due to hazing and

       mistreatment.

    72. The results of this actigraph study would later disappear under questionable

       circumstances.

    73. Dartmouth violated numerous state and federal medical records and patient rights

       regulations when they intentionally deleted his sleep study. RICO is one of the laws

       violated by this instance of medical records deletion.

    74. The Plaintiff became aware of the illegal situation in early January 2012, and informed

       Dartmouth that there would be a Federal lawsuit filed and that all evidence should be

       preserved.

    75. Plaintiff made this request through an email letter to College President Jim Yong Kim,

       notifying him of pending litigation in the United States District Court. The email

       specifically indicated that all ESI evidence should be preserved.

    76. The college had a duty under Federal Law to preserve relevant evidence and was noticed

       of this duty no later than January 15, 2012.
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    77. Despite that notice, the Plaintiff's computer and email accounts with Dartmouth

       Hitchcock Medical Center were disabled on January 17, 2011 and scheduled for

       deletion.

    78. Isaacs noticed his account login was disabled and telephoned DHMC IT support on or

       around January 17, 2011.

    79. IT support told Isaacs that his supervisors ordered the deletion of his electronic accounts.

    80. IT support further informed Isaacs that automatic safety mechanisms were preventing the

       deletion for approximately another week.

    81. Isaacs desperately emailed Finn, Jim Yong Kim, and others, pleading to reverse their

       order to destroy his electronic login and email access.

    82. Finn was aware of Isaacs' litigation notice to Jim Yong Kim at the time she ordered

       deletion ofIsaacs' electronic(eDH)files.(See Exhibit).

    83. Finn had referenced the litigation and complaints to Jim Yong Kim in emails she sent to

       others in her department on or around January 15, 2012.

    84. Finn and Kim, with coordination from Dartmouth attorneys, formed a consortium that

        worked to commit felonious evidence destruction.

    85. There can be no doubt, res ipsa loquitor, that Finn and Jim Yong Kim purposefully and

       intentionally ignored Isaacs' pleas not to delete his eDH accounts.

    86. Normally, an eDH account would only be deleted after an employee is properly

       terminated through due process including a fair hearing. As such, this email destruction

       occurred at least two months earlier than it should have.

    87. The willful destruction of Isaacs' eDH accounts constitutes a felony under United States

       Code. 18 U.S.0 1519.
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    88. Dartmouth, via its attorneys, would later argue to the Court that automatic processes

       caused the destruction of Isaacs' eDH accounts.

    89. Dartmouth knew that the felony code has exemptions for ESI deletions caused by

       automatic processes.

    90. As stated, the only relevant automatic processes in this case were safety mechanisms to

        prevent the deletion ofthe ESI.

    91. No automatic process caused the deletion of Isaacs' eDH ESI.

    92. Finn and Jim Yong Kim's decision to delete Isaacs' eDH files caused the deletion.

    93. Dartmouth, via statements made by their attorneys, defrauded the Court by suggesting

       automatic processes were to blame.

   94. The deletion of Dr. Isaacs' electronic accounts severely limited his ability to support his

       well-founded claims in the District Court and in administrative proceedings.

   95. Dartmouth used fraudulent means and information to prevent the further discovery and

       prosecution of their felonious email destruction. As a result, legal determinations based

       upon said fraudulent means are invalid.

   96. Dartmouth terminated Isaacs in March 2012, without having ever placed him on formal

       probation.

   97. Probation is a due process guaranteed by various contractual and accreditation guidelines

       applicable to Isaacs' residency at Dartmouth.

   98. Defendant Finn and Kim sought to deny Isaacs this right.

   99. Dartmouth terminated Isaacs in March 2012, without having ever allowing him a "Fair

       Hearing" amongst Dartmouth peer physicians.
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    100.        "Fair Hearing" is a due process guaranteed by various contractual and

       accreditation guidelines applicable to Isaacs' residency at Dartmouth.

    101.        Defendant Finn and Kim sought to deny Isaacs this right.

    102.        Dartmouth terminated Isaacs by sending him a letter via US Mail, falsely

       accusing him of concealing his Keck records, and falsely accusing him of not disclosing

       other records from Arizona.

    103.        Dartmouth knew the Keck records in fact had been expunged. Dartmouth had an

       absolute, unfettered right via FERPA to confirm or deny the expungement of the Keck

       records.

    104.        As such, Dartmouth's letter via US Mail constitutes Mail Fraud under the United

       States Code.

    105.        At least one civil federal lawsuit was concluded adversely to Plaintiff, as a result

       of Dartmouth defendants submitting knowingly false and fraudulent information to the

       court.

    106.        One such case was in the New Hampshire district, lawsuit CV-12-40-LM.

    107.        That lawsuit alleged that Plaintiff had become disabled from mistreatment at

       Dartmouth. The lawsuit concluded (with missing emails and medical records) when

       Plaintiff's request to obtain spoliated evidence was ignored by the court, which entered

       summary judgment. As such, a summary judgment was entered in Dartmouth's favor,

       stating they did not violate the ADA by not accommodating Isaacs disability (which was

       alleged to have been caused by Dartmouth itself.
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    108.       Nothing in the summary judgment declared that Isaacs was permanently barred

        from practicing medicine, nor that his future applications to Dartmouth shouldn't be

        given all due consideration.

    109.       Indeed, uncontested witness statements in that lawsuit's record included senior

        program directors' statements that "Isaacs medical knowledge was perfectly acceptable,"

        and that "most of his reviews were quite positive." In fact, there were only several

        specific performance faults attributed to Isaacs in the record of cv-12-40, and they

        themselves are alleged to have been issued in mockery. They are 1) that he forgot a pager

        at lunch, and 2)that he forgot to listen to a patient with a stethoscope.

    1 10.      In one deposition in cv-12-40, Dr Christine Finn testified that she would "defer to

       the RAMC" and other competent authorities, with regards to interpretation of the Keck

        settlements.

    1 11.      The NHES, New Hampshire Employment tribunal, is a competent authority. The

       NHES determined that Isaacs non-disclosure of Keck records was permissible, because

        he believed it to have been expunged.

    1 12.      Similarly, the RAMC closed an investigation, in Isaacs' favor, upon legal review

       ofthe Keck settlements.

    1 13.      In short, Dartmouth and the NH Board of Medicine (see below) defied two prior

       competent authorities, when they faulted Isaacs for non-disclosure of Keck.

    1 14.      Under an applicable standard of willful falsification and gross misrepresentation,

       Dartmouth and the NH Board incorrectly faulted Isaacs for interpreting the Keck

       settlement agreements the same way as the AAMC and NHES.
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    I1S.       In other words, they continue to accuse Isaacs of dishonesty for simply believing

        the legal interpretations of the RAMC and NHES (and numerous other attorneys) were

       possible.

    1 16.      In sum, at the conclusion of cv-12-40, Isaacs believed that despite the setback at

       Dartmouth, he still had a future medical career. This would especially be the case if his

        medical conditions, caused by Dartmouth, improved.

    1 17.      Commonly, resident physicians who suffer medical ailments forcing them to

       abandon a medical residency, are then permitted to return to federal GME training after

        being rehabilitation.

    1 18.      Hence after cv-12-40's MSJ, there existed no reason Isaacs could not hope and

       expect he would at some point be able to return.

    1 19.      However, years of applications to Dartmouth and appeals of the NH Board false

       orders (see below) have made it apparent that the Defendants have succeeded in

       permanently barring Isaacs from residency and licensure.

    120.       It is exceptionally rare, if not unheard of, for someone with Isaacs credentials, and

       no criminal record or other bar to employment,to be kept out oftraining for seven years.

    121.       Indeed, Dartmouth didn't even acknowledge receipt of Isaacs most recent

       application to GME in September, 2018. Such treatment is now obvious to be consistent

        with Dartmouth's vendetta against Isaacs ever becoming a doctor.

    122.       Dartmouth has even pleaded several times, in related lawsuits, that Isaacs cannot

       "resuscitate claims against Dartmouth by reapplying each year."

    123.       Such a statement means that Dartmouth does not welcome Isaacs' 2018

       application to their federally funded program.
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    124.       Such a statement means that Dartmouth believes Isaacs should be permanently

       barred from GME medical training at their facility.

    125.       Such a statement means that Dartmouth believes that an improvement in the

       medical situation that caused him to leave 2011 residency would never warrant

       consideration of a reapplication.

    126.       Such a statement means that Dartmouth continues to accuse Isaacs of guilt for

       interpreting the Keck settlement agreements in the same fashion as NHES and RAMC.

    127.       Such a statement is in fact evidence that Dartmouth's official stance is one of

       permanent, illegal retaliation against Isaacs, in violation of federal witness retaliation

       laws.

    128.       Such a statement evidences the overall scheme, and simplest explanation: that

       Isaacs has been subject to longstanding, repetitive and deliberate violations of RICO,

       owing to a vendetta      by some of the highest members of academic medicine, the

       Defendants. The Defendants lawyers in fact have plainly issued a statement that Isaacs

       should never reapply to federal GME programs because he sued them, multiple times,

       and obtained valid settlement expungements.

    129.       In 2014, no less than three Dartmouth officials testified under oath that the

       unnecessary DREs had never been investigated.

    130.       In 2017-2018, Dartmouth made numerous, false assertions to dismiss a civil Title

       IX claim. Amongst these false assertions, Dartmouth refuted the Title IX claims as false,

       despite the well known fact they had never been investigated.

    131.       Dartmouth's pattern of perjury and false pleading statements goes well beyond

       defense "lawyering" and, in and of itself, represents obstruction ofjustice.
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    132.       Dartmouth similarly caused a false letter to be sent to the New Hampshire Board,

       transmitted false/expunged records from Keck.

    133.       Dartmouth's materially false letter to the NH Board, disguised as FERPA-proper

       educational records, constitutes Mail Fraud under United States Code. Dartmouth knew

       Keck was not releasing the sealed discipline history, but mislead the NH Board of

       Medicine to believe otherwise.

    134.       The NH Board received the Keck information and immediately assigned the

       matter to Defendant Cahill Cahill, in 2013, telephoned Isaacs and said "Just so you are

       aware, this was placed on my desk from someone above. I don't want to make a

       mountain out of a molehill."

    135.       Dartmouth had recruited individuals at the NH Board to scheme and defraud, and

       retaliate against, Isaacs.

    136.       Cahill made no less than six attempts, over two years, to coerce Isaacs to settle. In

       one email, he even said "I don't think this will affect your lawsuit with Dartmouth," but

       that he "needed" Isaacs to admit wrongdoing via Keck.

    137.       The New Hampshire Board of Medicine (the "Board") found that Dr. Isaacs had

       improperly failed to disclose his "criminal stalking" and Keck enrollment on his

       residency application. AR 000042; AR 000022-30.

    138.       Setting aside its incorrect claim that Dr. Isaacs had a criminal record, which he

       did/does not, the Board not only rejected Dr. Isaacs' reliance on the settlement

       agreements but also disclosed the facts of the Keck circumstances contained in

       documents that the agreements had sealed. AR 000022-30.
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    139.       In so doing, the Board violated the court-entered settlement agreements and,

       worse, forever tarnished Dr. Isaacs' reputation.

    140.      The Board withheld critical exonerating evidence from the public, namely, the

       first Keck settlement agreement.

    141.      The Board falsely stated to the public that "there is no provision sealing the

       records."

    142.      The Board also declared that, upon information and belief, USC failed to

       complete their end of the settlement agreement, specifically, they failed to release any

       outstanding administrative charges. Releasing outstanding administrative charges was

       one ofthe plain-text requirements ofthe second Keck settlement agreement.

    143.      If true, Defendant USC's failure to release administrative charges against Isaacs

       represents an additional predicate act of obstruction of justice and/or due process

       violations.

    144.      Counterintuitively, the Board blamed Isaacs for USC's failure to release

       administrative charges, despite conceding that USC had breached their contractual duty.

    145.      Such an argument goes beyond mere error, and represents Cahill and the Board's

       ongoing attempt to participate in the predicate acts and scapegoat Isaacs. The Board order

       itself evidences a wens rea to join and please the high academia enterprise begun all

       those years ago by the Defendants.

    146.      Given Cahill's statements, and two year timeframe scrutinizing the record, the

       evidence shows his intention to obstruct justice and due process by issuing false

       statements and withholding key evidence from a state proceeding.
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    147.      To date, the Board's only defense, argued in recent federal court motions, is that

       there was "no clearly established right" for Cahill to include the Keck settlement

       exonerating evidence in his order. In other words, the Board doesn't contest their Order is

       false. They merely contest that Isaacs had any right to a true Order, or an order that took

       into consideration favorable to Isaacs.

    148.      Further evidencing their corrupt involvement pursuant to RICO, the Board failed

       to investigate Khagi for the unnecessary DREs he ordered. Plaintiff sent repeat requests

       for investigation, over a two year period, which were ignored.

    149.      By failing to investigate any of Isaacs' claims, and issuing knowingly false

       documents against him, the NH Board, via its officers, repeatedly obstructed justice and

       denied Plaintiff due process, in the act ofjoining the co-Defendants efforts to end Isaacs'

       medical career.

    150.      In mid-2014, the Board first published the above false orders on the Internet, and

       national medical board sanction action databases/clearinghouses.

    151.      The Board continues to publish these documents in late 2018. The Board is aware

       they contain materially false and damaging information.

    152.      As a result of false declarations of "stalking crimes," the years following 2014

       publication, Isaacs became further ostracized from former colleagues, friends, neighbors,

       and even had AirBNB reservations cancelled.

    153.      Despite being reasonably optimistic that justice would prevail in a timely fashion,

       over time, Isaacs had to reasonably conclude that the actions of the Board and other

       Defendants permanently ended his medical career and caused severe reputational harm.
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    154.       It would be unrealistic and unfair to have expected Isaacs to have fully realized

       this injury in 2014, at the first instance of publication of a related order. Indeed, Isaacs

       never reasonably anticipated an appeals process where the Board would admit their Order

       was false, but not retract it.

    155.       Reputational and career harm of this magnitude are extraordinary and took

       months to years to fully process and understand the implications thereof.

    156.       Isaacs has applied to Dartmouth's residency program for each year inclusive,

       2013, 2014, 2015, 2016, 2017, 2018, and 2019. As previously discussed, only recently in

       2017 did Isaacs learn that Dartmouth did not welcome further applications and any

       attempt to "resuscitate" his medical career.

    157.       Dartmouth's own Dr Friedman and Dr West testified that Isaacs had "good"

       medical knowledge and was a good resident, respectively.

    158.       However, the co-Defendants wish to permanently prevent Isaacs from ever being

       a practicing physician.

    159.       As such, they have not considered seven separate residency applications over

       seven years.

    160.       Each residency refusal is an illegal retaliation under 18 U.S.C. § 1513, and/or

       other anti-retaliation laws.

    161.       Likewise, each and every adverse event referenced above is an illegal retaliation,

       deprivation of due process, and or obstruction ofjustice intended to thwart a 2007 federal

       court ordered settlement agreement, a 2012 New Hampshire United States District

       lawsuit, or other related processes and appeals.
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    162.        Plaintiff has diligently sought to uncover the predicate acts via federal discovery

       that began in January 2012.

    163.        RICO has both civil and criminal causes of actions.

    164.        Plaintiff seeks both civil and criminal prosecution of the herein described RICO

       violations.

    165.        Plaintiff has properly noticed the Department of Justice of these civil and criminal

       RICO claims.

    166.        Jim Yong Kim offered his resignation from his appointment as President of the

       World Bank, upon information and belief, after the Executive Branch raised questions

       pertaining to the RICO violations detailed herein.

    167.        Because Defendants employed fraudulent means to spoliate evidence and offer

       false testimony, res judicata and double jeopardy rules do not apply in this instance.

    168.        Defendants, to the best of Plaintiff's knowledge, have never been subject to

       criminal prosecution for the alleged offenses, under RICO or any other statute.

    169.        The Defendants enacted schemes to fraudulently conceal the discovery of their

       illicit acts.

    170.        Specifically, the Defendants destroyed email evidence, destroyed medical records,

       perjured themselves in depositions, and reached out to local government officials with

       whom they had influence, including, but not limited to ,the NH Board of Medicine and

       the NH USDC.

    171.        Similarly, the NH Board of Medicine only recently declared that despite Cahill's

       clear error in withholding the first settlement agreement, they would not correct the
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       record because there was no "clearly established right" for Plaintiff to have due process

       and a true public board order.

    172.       As a result of the aforementioned fraudulent concealment, and lengthy delays in

       the previous related lawsuits, the full nature of Plaintiffs injuries have been difficult to

       precisely ascertain.

    173.       A jury shall determine that Dr Isaacs' currently cannot practice medicine as a

       result of a pattern of illegal, retaliatory behaviors initiated by John Doe in connection

       with the Keck, spanning over fourteen years, ultimately involving Dartmouth and the NH

       Board officers.

                                   V.     CAUSES OF ACTION

                             COUNTI
      RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS(RICO)
                         18 U.S.C. ~ 1962(c)
                         (All Defendants)

    174.       Plaintiff repeats and re-alleges each and every allegation contained herein as if

       fully stated under this count.

    175.      RICO's reach is broad and includes otherwise law-abiding businesses and persons

       who violate its provisions.(Sedima, S.P.R.L. v. Imrex Co., supra, 473 U.S. at pp. 499-500

       X87 L.Ed.2d at pp. 360-3611; Cianci v. Superior Court, supra, 40 Ca1.3d at pp. 908-909.)

       Gerase v. Superior Court, 31 Cal. App. 4th 1218, 1229(CA 3rd 1995).

    176.      As defined by RICO, the Defendants formed an enterprise under at least one of

       several parallel, non-exclusive theories. First, the Defendants all participated in, and

       made a living from, federally and state funded medical training activities. Second, the

       Defendants all had a reputational and commercial stake in the national health care

       provider network. Third, all Defendants had some stake in, or authority over, Plaintiffs
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       medical andlor professional career. Fourth, all Defendants had authoritative control and

       or publishing rights in nationwide medical training databases, including board licensure

       & reprimand databases which now contain false, retaliatory information. Fifth, all

       Defendants directly had some nexus as Harvard Medical School faculty, alumni, and/or

       social and professional or interests in affiliated academic medicine posts such as those at

       Dartmouth and Keck. Finally, the Defendants formed a de facto enterprise with the sole

       purpose of carrying out a vendetta and negatively impacting Dr. Isaacs's medical-

       professional career. Per United States v. Turkette, 452 U.S. 576, 583 (1981), where the

       court upheld a RICO conviction even though the only purpose of the enterprise was to

       engage in a pattern of racketeering activity.

    177.      The Count I Defendants) have directly and indirectly conducted and participated

       in the conduct of the enterprise's affairs through a pattern of racketeering and activity

       described herein, in violation of 18 U.S.C. § 1962(c).

    178.      The Defendants committed numerous predicate acts, spanning no less than twelve

       years, which constitute a pattern of racketeering activity pursuant to 18 U.S.C. § 1961(5).

    179.      Representative predicate acts are enumerated below for each defendant. This list

       is not exhaustive and shall be refined during discovery. Predicate acts have also been

       pleaded earlier in this complaint.

    180.      The predicate acts described in this complaint all violate one or more of the

       following federal statutes:

           a. 18 U.S.C. § 1513 (hereafter "witness retaliation"), which forbids conduct that

              "damages the tangible property of another person, or threatens to do so, with

              intent to retaliate against any person for-- the attendance of a witness or party at
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             an official proceeding, or any testimony given or any record, document, or other

             object produced by a witness in an official proceeding; or, Whoever knowingly,

             with the intent to retaliate, takes any action harmful to any person, including

             interference with the lawful employment or livelihood of any person, for

             providing to a law enforcement officer any truthful information relating to the

             commission or possible commission of any Federal offense, ...Whoever

             knowingly, with the intent to retaliate, takes any action harmful to any person,

             including interference with the lawful employment or livelihood of any person,

             for providing to a law enforcement officer any truthful information relating to the

             commission or possible commission of any Federal offense, shall be fined under

             this title or imprisoned not more than 10 years, or both."

          b. 18 U.S.C. § 1503,(hereafter "obstruction ofjustice"), which forbids obstruction

             of process, generally, including actions taken "corruptly" to "influence, obstruct,

             or impede the due administration ofjustice."

         c. 18 U.S.C. § 1512, (hereafter "witness tampering"), Whoever knowingly uses

             intimidation, threatens, or corruptly persuades another person, or attempts to do

             so, or engages in misleading conduct toward another person, with intent to—

             influence, delay, or prevent the testimony of any person in an official proceeding

            (2)cause or induce any person towithhold testimony, or withhold a record,

             document, or other object, from an official proceeding; alter, destroy, mutilate, or

             conceal an object with intent to impair the object's integrity or availability for use

             in an official proceeding; evade legal process summoning that person to appear as
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                a witness, or to produce a record, document, or other object, in an official

                proceeding;

            d. 18 U.S.C. § 1343, (hereafter "wire fraud"), forbids any scheme or artifice to

                defraud, or for obtaining money or property by means of false or fraudulent

                pretenses, representations, or promises, transmits or causes to be transmitted by

                means of wire, radio, or television communication in interstate or foreign

                commerce, any writings, signs, signals, pictures, or sounds for the purpose of

                executing such scheme or artifice. Per statute, this shall include any scheme to

                deprive another of honest services.

            e. 18 U.S.C. § 1341, (hereafter "mail fraud"), forbids any scheme or artifice to

                defraud .. by means of false or fraudulent pretenses, representations, or promises

                ... for the purpose of executing such scheme or artifice or attempting so to do,

                places in any post office or authorized depository for mail matter, any matter or

                thing whatever to be sent or delivered by the Postal Service.



    I.      Dartmouth Defendants/ Jim Yong Kim

    181.        The factual history describes a pattern of adverse actions taken by Dartmouth and

         Jim Yong Kim meant to interfere with Plaintiff s livelihood and property. Predicate acts

         began as soon as Isaacs arrived at Dartmouth for training in July 2011. Specifically,

         through the unknown communication with John or Jane Doe, Dartmouth began to

         retaliate against Isaacs for his complaints against Keck and the NIH. Plaintiff was, and

         should have been, protected from such treatment pursuant to federal witness retaliation

         code (see, supra). Based upon information and belief, John Doe formed a nexus and
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       enterprise with Dartmouth officials which jointly retaliated against Plaintiff. No later than

       January 2012, Isaacs had commenced federal proceedings against Dartmouth itself.

       Adverse actions which occurred after January 2012 violated witness tampering and

       obstruction ofjustice statutes, in addition to witness retaliation code.

    182.      Representative actions violating these statutes have been described in the factual

       history. Such actions include, but are not limited to, ordering Isaacs to conduct

       unnecessary prostate exams, silencing other staff who spoke out against mistreatment,

       blatantly depriving Isaacs of institutional due process, and falsely accusing Isaacs of

       medical mistakes and errors. Each of these acts was meant to retaliate against a federal

       witness, and/or interfere with a proceeding, in violation of the cited statutory authority. In

       layman's terms, it is well known that Isaacs was, in violation of RICO, persona non grata

       in the academic medicine field after suing several Harvard Medical School leaders.

    183.      Once Isaacs notified Dartmouth of pending federal litigation, his emails were

       deleted by Jim Yong Kim or Christine Finn. A warning that emails were being deleted

       was ignored by Jim Yong Kim. As such, Kim either assented to, or directly ordered, the

       email destruction. Isaacs' medical records were also destroyed during the same month in

       January 2012. Isaacs was denied a fair hearing later in 2012, as required by hospital

       bylaws. Based upon the proximate sequence of retaliatory events following Defendant

       Kim's receipt of a federal lawsuit notice, evidence shows he either ordered, or assented

       to, separate acts of email destruction, medical records destruction, and multiple internal

       due process violations. Dartmouth College and DHMC are legally culpable, having

       assented to these improper actions carried out by Kim and other administrators.
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    184.      Multiple instances of evidence spoliation form the basis of a pattern of predicate

       acts that violated federal witness tampering and obstruction of justice laws. The

       Dartmouth defendants took repeated steps, over an extended period of time, to destroy

       the written record of evidence that was be critical to litigation due process in the federal

       courts. Plaintiff did not receive due process in prior lawsuits and administrative processes

       as a direct and foreseeable result of criminal witness tampering and evidence destruction.

    185.      In March 2012, a NH process server noted that Jim Yong Kim appeared to have

       evaded summons service by issuing false statements. Such activity constitutes a willful

       and deliberate pattern by Dartmouth defendants to violate federal witness tampering and

       obstruction of process laws.

    186.      During a dozen depositions of Dartmouth physicians taken in 2012-2013, not a

       single witness was able to recall or describe how they learned about Plaintiff's sealed

       Keck records. Likewise, most witnesses outright denied, falsely, any knowledge of the

       sealed records. Similarly, key witnesses had no recollection of the reasons why they

       ordered Plaintiff to conduct the unnecessary prostate exams. Discovery will produce a

       detailed register of false statements made by Dartmouth defendants meant to obstruct

      justice and tamper with witnesses. Plaintiff has been unable to obtain correct closure of

       this matter as a direct and foreseeable result of Dartmouth defendants witness tampering

       and obstruction ofjustice.

    187.      As part of their enterprise, Dartmouth entered false statements into interstate

       computer systems. For example, Dartmouth entered false reasons for termination, and

      false information about Keck, into interstate computer systems. During a deposition of

       one Natalie Riblet, Riblet challenged the authenticity of one such purported incident
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          entered into these databases. Such false entries constitute wire fraud, per the above

          referenced authority.

    188.          Likewise, Finn transmitted false letters to the NH Board of Dartmouth, Isaacs,

          and others via US Mail. The documents contained knowingly false information about

          expunged falsities from Keck. These actions constituted mail fraud as per the above

          referenced authority.

    II.       Dartmouth New Hampshire Board of Medicine

    189.          The NH Board of Medicine engaged in multiple actions in violation of federal

          obstruction ofjustice code, federal anti-retaliation code, and wire and mail fraud statutes:

    190.          First, the Board refused to investigate reports of felonious sexual assault, namely,

          that Khagi ordered him to conduct unnecessary prostate exams, solely for the intent to

          humiliate Isaacs for his non-disclosure of Keck. To this day, the Board has not

          investigated the exams. A proper investigation would have been critical to refer the

          matter to appropriate authorities, and/or take Board action against Khagi and Dartmouth.

    191.          The Board, specifically Jeff Cahill, withheld exonerating evidence —the Keck

          Settlement agreements —and revoked Isaacs medical license for non-disclosure of the

          annulled Keck records. They did so with intent to obstruct justice and due process in both

          their own hearing and related federal lawsuits. They did so to appease and work in

          conjunction with the enterprise that formed between them and Dartmouth; Cahill told

          Plaintiff by phone that he had been instructed by a superior to take on the false allegation.

          The Board also retaliated against Isaacs because he had named them in a PAED lawsuit

          in 2013. To this day, the Board falsely publishes on nationwide databases that the Keck

          agreements do not exist.
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    192.          The Board even went so far as to blame Isaacs for Keck's failure to retract

           administrative charges, which Keck was contractually bound to do from the settlement

           agreements.

    193.          The Board went ahead with a hearing despite the fact that 8 inches of snow

           prevented Isaacs from attending. The Board did so with the intent of obstructing due

           process in both their own hearing and pending federal litigation.

    194.          Likewise, the Board failed to accommodate Isaacs disability request for a trial by

           videoconferencing, suggesting an intent to obstruct process.

    195.          The NH Board's only training facility is operated by Dartmouth, the only

       academic medical center in New Hampshire. Dartmouth has a liaison physician to the

       Board, and the Board consists largely of accredited physicians. As such, despite being

       held under the auspices of a state entity, the Board as defined as its individuals was very

           much involved, ultimately, in the RICO nexus described herein.

    III.      Keck School of Medicine and John or Jane Doe

    196.          Keck was the origination of the enterprise to retaliate against Dr. Isaacs as a

       witness of a federal crime (improper NIH influence on Keck).

    197.          Keck engaged in multiple predicate acts, which were the subject of a federal

       lawsuit in 2007. The Plaintiff settled (civil claims) against Keck via the two

       aforementioned settlement agreements.

    198.          Nonetheless, John or Jane Doe followed him, over a span of some five years, and

       disclosed the sealed records to Dartmouth. Based upon information and belief, John or

       Jane Doe necessarily must have had some connection to Defendant USC, given their

       knowledge of the sealed records.
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    199.      In any event, the New Hampshire Board of Medicine determined that USC

       breached the settlement agreement, as they never retracted "administrative charges"

       against Isaacs, including a charge of Unprofessional Conduct that lead to his suspension ,

       and later, expulsion.

    200.      As such, USC has violated anti-retaliation and wire and mail fraud provisions,

       with predicate acts spanning over a decade. Specifically, they continue to issue false

       transcript reports via wire and mail USC has had knowledge of Plaintiff's continued

       legal struggles to practice medicine. USC could have easily intervened and clarified that

       the records had been sealed, annulled, and discharged. When they could have so easily

       helped conclude a decade of litigation in over a dozen venues, USC's inaction alone

       evidences continued intent to retaliate.

    201.      These Defendants, all involved in RICO violations, progress an enterprise whose

       primary focus was to destroy Dr. Isaacs's career, through his mistreatment at Keck,

       Dartmouth and later with his mistreatment at the New Hampshire Board of Medicine and

       several federal courts. Generally, there is one unifying explanation for Plaintiffs fourteen

       year predicament: 1) in 2006, he reported activity concerning the improper NIH/Keck

       relationship, 2) such report included notice of federal litigation, 3) as a federal witness,

       and party to an official proceeding, Plaintiff should have been protected from retaliation,

       however 4) clearly Plaintiff has suffered an extensive retaliation that ended his medical

       career for being a party to said proceeding. The entire retaliation originated with an

       attempt to discredit him, then a promising medical student, from bringing claims against

       several ofthe most senior physicians in the nation. Forced to go "offshore," he completed

       his medical training and again resumed a promising path, based on his top ranking
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        medical school achievement and national boards. John or Jane Doe transmitted the sealed

        Keck records to Dartmouth, which Dartmouth does not dispute, and the predicate act

        pattern of revenging the perceived litigious medical student resumed.

    202.        These actors are all well connected members of the medical profession and used

        that power in order to hide their intentions and use the courts and board of medicine in

        order to make sure that Dr. Isaacs can never practice medicine again. Particularly

        reprehensible is how Defendants, over more than a decade, used their status within

        venerable institutions to discredit Plaintiff and deny him any semblance of due process.

        Defendants planned to continue said mistreatment in perpetuity, forever denying Isaacs a

        medical career; it only appears questions raised by the Executive Branch finally halted

        Defendants' abuse of power. Punitive damages andlor substantial criminal penalties are

        particularly appropriate under RICO law.

    203.        This behavior is particularly nefarious when one considers all of the effort it took

        Isaacs to pursue his singular goal of being a doctor. He worked diligently to help others

        as a student physician, with the understanding that his settlement agreements would

        protect him and allow him to move on with his life.

    204.        These Defendants, through criminal enterprise, thwarted for good Dr. Isaacs's

        pursuit of being a medical Doctor and need to be held accountable for their crimes.

                                       COUNT II
                                 INJUNCTIVE RELIEF
 Defendants shall be enjoined and restrained from interfering with Plaintiff's property,

 specifically, his medical licensure and right to enroll in federally funded medical training. The

 injunction shall also enforce the terms of the USC Keck and CADC settlement agreements.
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 WHEREFORE,The Plaintiff respectfully requests that this Honorable Court:

    A. Order damages in excess of $18,000,000 under the jurisdictional authority of this Court;

    B. Award triple damages, under the so-called private attorney general provisions of RICO,

       costs and attorneys' fees;

    C. Await the United States Attorney as a criminal prosecutor for RICO criminal violations,

    D. Permit discovery of RICO civil and criminal claims to proceed pending appointment of

       the AUSA;

    E. Grant any further relief as may be fair and just.



 03/12/2019                                                 Respectfully Submitted,



                                                            /s/ Dr. Jeffrey D. Isaacs
                                                            Dr. Jeffrey D. Isaacs, Pro se
                                                            3553 W Chester Pk #177
                                                            Newtown Square, PA 19073
                                                            Jeffrevdinginail.com
                                                           (610)202-1460
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                    CONFIDENTIAL S~TTL~MENT AGREEMENT AND RELCASE

                    Jeffrey Isaacs {"Isaacs"), on the one hand. and University of Southern California
      ("USC"),on the other hand, have agreed to enter into this Confidential Settlement Agreement
       and Release(the "Agreement"),

              1.      Dismissal With Preiudice.

                      Isaacs agrees that he will execute and deliver for ding to counsel of record for
       USC,Robin D. Dal Soglio of Dal Soglio &Martens LLP, the Dismissal with Prejudice (attached
       hereto as Exhibit A)of Rober[ Baughman,Brian E. Henderson, Peter J. Katsufrakis and James
       M.H. Ball (together, the "Individual Defendants")from United States District Court Case No.
       CV-06-3338 GAF(Ex). Counsel for USC will file the Dismissal with Prejudice with the Court.

              2.      Sealing of Disciulinary Records.

                      In exchan~c for the Dismissal with Prejudice of the Individual Defendants,
       referenced above, Defcndant USC agrees that commencing immediately upon the execution of
       this Settlement Agreement and receipt of the signed Dismissal with Prejudice, USC will not
       release oc disclose Isaacs' disciplinary records to any third party, including but not limited to
       other educational insciwtions and/or potential employers, unless it receives written consent from
       Isaacs or a subpoena or court order.

               3.      Non-Admission of Liability,

                       This Agreement shall not in any way be construed as an admission by USC or any
       of the Individual Defendants thAt they have harassed, discriminated against or retaliated against
       Isaacs in any way, or otherwise acted wrongfully with respect to lsaa~. USC and the Individual
       Defendants specifically deny that they have any liability to or have done any wrongful acts
       against Isaacs.

               4.      No Other or Future Lawsuits. Cbar~es. Claims.

                      With the exception of United States District Court Case No. CV-06-3338 GAF
      (Ex) (the "Lawsuit"),  Isaacs represents that he has not filed any other lawsuits, charges, claims
      for arbitration. complAints, or appeals of any kind wiU~ any court or administrative or
      governmental agency against the Individual Defendants or any other persons or entities releosed
      herein, and he agrees that he wilt not file any lawsuits, charges, complaints, or appeals at any
      time hereafter based on, referring to, or incorporating any even,acts or omissions through and
      including the date hereof.

                        If lsaacs's representations in this purmgrnph prove to be false, or if he violAtes the
        promises made in this paragraph and files a lawsuit, charge. complaint, or appeal of any kind
        with any court or administrative or governmental agency against the Individual Defendants,
        based on any events, acts or omissions through and including the date hereof, lsuaas will pay for
        aq costs and losses, iiicludiiig actual attorneys' fees, incurred by Defendants in connection with
        said lawsuit, charge,complaint, ar ~PA~~•
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              5.      Comglete Release by Isaacs.

                       As a material inducement to USC to enter into this Agreement, Isaacs hereby
       irrevocably and unconditionally waives and releases all rights and cl~►ims, known and unknown,
       which he may have against each and all of the Individual Defendants and each of their respective
       assigns, agents, representatives, attorneys, spouses, children and other family members, and all
       persons acting by, through, under or in concert with any of them, from the beginning of time to
       the date Isaacs signs this Agreement. This includes but is not limited to a release of X11 rights and
       claims Isaacs may have against the Individual Defendants under any federal or state anti-
       discrimiaation statutes, including but not limited to the Americans with Disabilities Act and the
       Rehabilitation Act of 1973, as well as all claims, known and unknown. which he may have for
       breach of contract, express or implied; breach of the covenant of good faith and fair dealing; and
       retaliation, defamation, conspiracy, infliction of emotional distress, invasion of privacy, assault,
        battery, misrepresentation, or any other tort.

               6.    Knowing and Volanlary Waiver of Known and Unknown Claims

                      Isaacs agrees that, as a condition of this Agreement, he expressly releases all
       rights and claims that he does not know about, as well as those he knows about. Thus, consistent
       with the terms of his release, Tsnacs expressly waives all rights under Section 1542 of the Civil
       Code of the State of California, which reads as follows:

                       "A general release does not extend to claims which the creditor
                       does not know or suspect to exist in his or her favor at the time of
                       executing the release, which if known by him or her must have
                       materially affected his or her settlement with the debtor."

               7.    Encouraeement to Consult With Attorney

                       Counsel for USC has svongly encouraged Isaacs to consult with an attorney
        before signing this Agreement, mid Isaacs hereby acknowledges that he has either fully consulted
        with an attorney prior to signing or has knowingly and voluntarily decided not to do so.

                8.     No Rearesentations

                       The pasties hereto represent and agree that ao promises, statements or
                                                                                               those
        inducements have been made to them which caused them to sign this Agreement other than
        expressly stated in this Agreement .

                9.      Successors

                        This Agreement shall be binding upon the parties And upon their respective heirs,
                                                                                                     benefit
        administrators, representatives, executors, successors and assigns, and shill inure to the
                                                                     tives, executors, successors and assigns.
        of the parties And others released herein, their represe~ita



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                                                                                                               USC 3
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             10.     Confidentiality of This Agreement

                      a.      As a material inducement for USC to enter into this Agreement, Isaacs
      agrees not to disclose the negotiation, terms, or conditions of this Agreement to anyone other
      than Isaacs's attorneys and parents(hereafter referred to as "Isaacs's Confidants") and,even as
      to such a person,only if such persons agree to honor this confidentiality requirement. ViolAtion
      of this confidentiality requirement by any of Isaacs's Confidants will be treated as a violation of
      this Agreement by IsAacs.

                      b.      This section does not prohibit disclosure of the negotiation, terms or
      conditions  of this Agreement   to the extent necessary legally to enforce this Agreement, nor does
      it prohibit disclosures to the extent otherwise required by law (but only if the enforcing party
      notifies the other party and its attorneys of a disclosure obligation or request within three
      business days after helit learns of it and does not actively oppose the party taking all steps it
      deems to be appropriate to prevent or limit the requi~~ed disclosure).
                       c.    If Isaacs is asked about his claims against the Individual Defendants,and
       only if asked, he may state only that "the matter hAs been resolved."

              11.     Newly Discovered Facts

                      Isaacs Acknowledges thAt he might hereofter discover facts different from or in
       addition to those he now knows or believes to be true with respect to A claim or claims released
       herein, and he expressly agrees to assume the risk of possible discovery of additional or different
       facts, and agrees thAt this Agreement shall be and remain effective in all respects regardless of
       such additional or different discovered facts.

              lz.     Voluntary Particluation in This Agreement

                       The parties acknowledge that they have thoroughly discussed all aspects of their
       rights and this Agreement with their respective attorneys, or have knowingly and voluntary
       chosen not to do so,and that they have carefully read and fully understand all of the provisions
       of this Agreement, that they have been given a reasonable pei9od of time to consider signing this
       Agreement, and that they are volunttu'ily signing this Agreement

               I3.    GoveroiuL Law

                      This Agreement is made and entered into in the State of California and shall in all
       respects be interpreted, enforced and governed under the laws of said State.

               14.    Further Necessary Actions

                       The }mrties agree, without further consideration,so sisn And/or cause to be signed,
                                                                                                     as
       and to deliver to counsel for one another, any other documents and to take any other action
                                                                                      but not limited  to,
       may be necessary to fulfill their obligations under this Agreement, including,
       effecting the dismistial of all outst~uding administrative charges.


                                                                                                  t,~~¢~~




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              15.     Severability

                       Should any of the provisions in this Agreement,other than the Release set forth in
       Paragraph 5, be declared oc be determi~►ed to be illegal or invalid, all remaining parts, terms or
       provisions shall he valid, and the illegal or invalid part, term or provision shrill be deemed not to
       he a part of this Agreement.

               l6.    Proaer C~~nstruction

                     a. The language of all puns of this Agreement shall in all cases he construed as a
       whole according to its fair meaning, and nol strictly for ur t~gainst any of the parties.

                      b. As used in this Agreement, the term "or" shall be deemed to include the term
       "ond/~r" and the singul~u or plural number shall be deemed to include the other whenever the
       context so indicates or requires.

                       c. The parag~~ph heading~ used in this Agreemene arc intended solely For
       convenience of reference and shall not in any manner ~►mpiify, limit, modii'y ur otherwise be
       used in the interpretation of any of the provisions hereof.

               17. Entire Aereement

                       This Agreement is the entire agreement between Isa~cx and USC and fully
       supersedes any and all prior agreements or understandings between the parries pertaining to its
       subject matter.

                PLEASE. READ CAREFULLY. THIS CONFIDENTIr1.L SETTLEMENT
       AGREEMENT AND RFi~EASE INCLUDES A RF,LEASE OF ALL KNOWN AND
       UNKN4WIY CLAIMS AGAINST THE INDIVIDUAL DEFENDANTS.

                       Executed at Bern Pennsylvania, this 29''' day of August 2(~7.


                                                           {   ~         ~ ~
                                                           ~' ~

                       Executed ut Los Angels, California, this 3~ ~ day of August 2007,

                                               UNIVERSITY OF 50UTHERN CALIHORNIA




                                                       Dennis F. Daugherty
                                                       Senior Vice Pr~sidentfor Finance

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             CONFIDENTIAL SETTLEMENT AGREEMENT AND MUTUAL RELEASE


                      The University of Southern California("USC")and Jeffrey Isaacs ("lsaacs") have
      agreed to entea• into this Confidential Settlement Agreement pnd Mutual Release (the
      "Agreement').

               1. Dismissal With Prejudice.

                      Isaacs agrees that he will execute and deliver for filing to counsel of record for
       USC,Robin D. Dal Soglio of Dal Soglio &Martens LLP,the Stipulation of Dismissal with
       Prejudice (attached hereto as Exhibit A)of USC from United States District Court Case No. CV-
       06-3338 GAF(Ex). Counsel fox USC will file the Dismissal with Prejudice with the Court.

               2. No Future Application to University.

                      ]sagas understands and agrees that his education at USC has ended irrevocably
       and forever and will not be resumed again at any time in the future. Isaacs further agrees that he
       will not apply for ar otherwise seek admission to USC or any related or afCliated entity at any
       time in the future, under any circumstances whatsoever.

               3. Non-Admission of LiabiGty.

                      This Agreement shall not in any way be construed a5 ari admission by USC that it
       has discrimins~ted against or retaliated against Isaacs in any ~vay, or otherwise acted wron~ully
       with respect to Isaacs or any other person,or that Isaacs has any rights whatsoever against it.
       USC specifically denies that it has any liability to or has done any wrongful acts against Isaacs or
       any other person.

               4. Bents for Isaacs.

                      Within fourteen (14) days of USC's receipt of the original of this Agreement
       signed by Isaacs and including executed copies of Exhibits A and B, USC will transmit to Isaacs
       one check made payable to Isaacs in the gross amount of Ten Thousand Dotla~s($l0,OQ4).

               5. Resnonsibility for Taxes.

                        Isaacs understands and acknowledges that USC will report the payment described
                                                                                                          is
        in paragraph to the appropriate taxing authorities as required by IAw. Isaacs agrees that he
                      4
        solely responsible for all tax obligations, including, but not limited to, all payment  obligations
        which may arise as a consequence of this Agreement. Isaacs further agrees promptly to pay and
        to indemnify and hold USC and others released herein harmless from and against any and all
        loss, cost, damage or expense, including, without limitation. attorneys' fees, interest,
                                                                                                       or
        assessments, withholding and penalties, arising out of any dispute over unde~wilhholding
                             of any of the proceeds  received by Isaacs  as a result of this Agreemen  t
        other tax treatment
                                                                                                        for any
        Isaacs further agrees not to seek or make any claim against USC or others released herein
                                                                                 made  in connection  with
        loss, cost, damage or expense if a claim or adverse determination is
        underwithholding orother tax treatment of any of the proceeds of this Agreement or any poRion  Ini~i~lcd n p~
                                                                                                           n u~ r dJ




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      thereof. Isaacs understands and agrees that neither USC nor others released herein has any duty
      to defend against any claim or assertion in connection with underwithholding or other tax
      treatment of the proceeds of this settlement or any portion thereof, and Isaacs agrees to assume
      full responsibility for defending against any such cllim or assertion.

              . No Other or mature Lawsuits. Charles. Claims for Arbitration or Comalainfs of
              6
                Anv Nature Vffhatsoever.

                       With the exception of United States District Court Case No.CV-06-3338 GAF
      (Ex). which is fully and finally setdcd herein, Isaacs ~~epresents that he has not filed any other
       lawsuits, charges, claims for arbitration, complaints, or appeals of any kind with any court or
       administrative or governmental agency against USC or any other persons or entities released
       herein, and he Agrees that he will not file tiny lawsuits, chorges,claims for arbitration,
       complai~i4s, or appeals at any dme hereafter based on,referring to, or incorporating any events,
       acts or omissions through and including the date hereof.

                      If lsaacs's representations in this paragraph prove to be false, or if he violates the
       promises made in this paragraph acid files a lawsuit, charge,claim for arbitration, complaint, or
       appeal of any kind with any court or administrative or governmental agency against USC or any
       other persons or enrities released herein, based on any events, acts or omissions through and
       including the date hereof, Isaacs will pay fa• all costs and losses, including actual attorneys' fees,
       incun~ed by USC in connection with said lawsuit,cha~•ge, complaint,or appeal.

              7.~ Complete Release by Isaacs.

                       As a material inducement to USC to enter into this Agrcement, Isaacs hereby
       irrevocably and unconditionally waives and releases all rights and claims, known and unknown,
       which he may have against USC,the Keck School of Medicine, and each of their respective
       successors, assigns, agents, wstees, officers, administrators,faculty, students, current and
      former employees, representatives, attorneys, divisions, subsidiaries, affiliates(and agents,
       trustees, officer, administrators, faculty, current and former employees, representatives and
       attorneys of such divisions, subsidiaries, and affiliates), and Robert Baughman and each of his
       family members,and all persons acting by, through, under or in concert with any of them
      (collectively, the "Releasees")from die beginning of time to the date Isaacs signs this Agreement
       from any and all claims, demands, contracts, expenses,liens, covenants, debts, attorney's fees,
       causes of action, damages,judgments, orders, and liabilities(collectively "Claims")of whatever
       kind or nature in law, equity, or otherwise, whether now known or unknown, suspected, or
       unsuspected, and whether or not concealed ar hidden, which Isaacs now owns or holds or had at
       any time heretofore owned or held against the Releasees.




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              8.    Release by USG

                       As a material inducement to Isz~acs to enter into this Agreement, USC does hereby
       irrevocably and unconditionally release, tu:quit a~~d forever discharge Isaacs fmm any and all
      charges, complaints,claims, liabilities, obligations, promises, agreements, controversies,
       damages, actions, causes of action, suits, rights, demands, grievances, casts, lossc;s, and expenses
      (including attorneys' fees and costs) of any nature whatsoever. known or unknown,suspected or
       unsuspected, fixed or contingent, including but nol limited to any claim for malicious institution
       of civil proceedings, and abuse ofprocess. Notwithstanding any other provision herein, this
       release by the University is not intended to, and does not, release debts unrelated to the
       I~wsuit,including but not limitzd to tuition or loans.

              9.     Knowing and Voluntary Waiver of Known and Unknown Claims

                        Consistent with the terms of their respective releases in paragraphs 7 and 8. Isaacs
       and USC acknowledge and agree that, as a condition of this Agreement,they expressly release
       all rights a~~d claims that shay do not know about, as well as those they know about. Tlws,
       consistent with the terms of their respective releases, Isaacs and USC expressly waive all right~
       under Section 1542 of the Civil Code of the State of Culiforiiia, which reads as follows:

                      "A genersill release does not extend to claims which the craditor
                      does not know or suspect to exist in his or her favor at the time of
                      executing the ~lea.~e, which if known by him or her must have
                      materially affected his or her settlement with the dabtor."

               10. Ownershia of Cltiims

                    Isaacs represents and agrees that he has not assigned or transferred, or attempted
        to assi~ transfer,to any person or entity, any of the claims he is releasing in this Agreement.
                or

               11. Encouraeement to Consult With Attorney

                       USC encourages Isaacs t~ consult with an attorney before signing this Agreement,
       and  Isaacs hereby acknowledges that he has h1d the opportunity to consult with an attorney prior
       to signing, and Etas either done so ~r voluntarily chosen not to do wo.

               12. No Renreseniations

                       The Qarties represent and agree that no promises, s[utements or inducements have
        been made to them which caused them to sign this Ag~~eement other than those expressly stated
        in this Agreement.




                                                                                                        ~,~~, .~




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               13.     cc     ~s

                       This Agrceme~tt shall be hindinb upon the parties and upon their respective heirs,
       administrntors, representatives, executors, successors and assigns, and shall inure to the benefit
       of the parties and others released herein. their represcnWti~es, executors, successors and assigns.

               14. ConCdentimlity of This Aereement

                       a. As a material inducement for USC to enter into this Agreement, Isaacs agrees
       not to disclose the negotintio~~, terms, conditions, or amount of this Agreement to anyone other
       than LSaacs's attorneys and tax adviser(hereafter refzrred to as "IsAacs's Confidants") nnd, even
       as to such a p~rsnn, only if the pzison agrees to honor this confidentiality requirement. Violation
       of this confidentiality requirement by any of Isaacs's Confidants will be treated as a violation of
       this Agreement by Isaacs.

                       b. This section does not prohibit Isa~es's disclosure of the negotiation, terms
       conditions, or amount of this Agreement to the extent necessary legally to enforce this
       Agreement, nor does it pmhibi~ disclosures to the extent otherwise required by law (but only if
       leases nodfi~s USC and its attorneys of a disclosure obligation or request within three business
       days after he learns of ii and does not actively oppose USC's taking all steps it deems to be
       appropriate to prevent or limit the required disc:losure).

                       c. if Iti~ac+ is asked about his claims agpinst USC,including breach of
        enrollment ccmtract and wrongful dismissal, and only if asked, he may state only that "thy matter
        has been rzsolveci." Huwzver, the parties further agree that l.~aacs is not required to di~lo.~ dpi.
        maLt~r to anyone.

                15. Damaees for Isaacs's Breach of Confidentiality

                            A breach of pa~5graph l4 will be deemed a material breach of this entire
        Agreement. Isaacs agrees to pay USC the sum of Five Thousa~id Dollars($5,000) as liquidated
        damages for each violAtion in the event USC obtains a judgment,ruling, award, or derision that
        paragraph 14 has been viota~ed. The parties to this Agreement agree that this liquidated damages
        provision is appropriate with regard to any breach of paragrnph Id because: (1)pnra~rrstph ld is
        essential for the protection of USC's interests;(~)damages Car breach of paragraph 14 would be
        difficult to pivve with certainty; and (3)the sum of Five Thousand Dollars($S,il~b) per breach
        represents a reasonable estimHu: of the harm likely to result from each such breach.


                16. Newly Discovered Facts

                       I.tiat~cs arknowleclges that he might hereafter diuover facts different from or in
        addition to those he no~v knows or believes to be true with r~.spect to a claim or claims released
                                                                                                     different
        herein, and he expressly agrees to uxsume the risk of possible discovery of additional or
               and uarees that   this Agi~ecment shall be and remain effective in all r~specW regardless of
        Casts,
        such additional or different discovc~~ed fact~.


                                                                                                      ~nidtRf~,,, ~ ~~

                                                          ~                                              ~—~




                                                                                                           USC 9
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              17. Voluntary Participation in This Agreement

                       The parties acknowledge that they have tEiorooghly discussed all Aspects of their
       rights and this Agreement with their respective attorneys. or have knowingly and voluntary
       chosen  not to do so, and that they have carefully read and fully understand all of the provisions
       of this Agreement, that they have been given a reasonable period of time to consider signing this
       Agreement,and that they are voluntarily signing this Agreement.

              18. Governing Law

                      This Agreement is made and entered into in the State of California and shall in all
       respects be interpreted, enforced and governed under the Laws of said State.

               19.   Further Necessary Actions

                       The parties agree, without further considerf►tion, to sign and/or cause to be signed,
       and to deliver to counsel for one ano[her, any other documents and to take any ocher action as
       may be necessary to fulfill their obligations under this Agreement, including, but not limited to,
       effecting the dismissal of all outstanding administrative charges.

               20. Severability

                       Should any of ttte provisions in this Agreement, other than the Release set forth in
       Paragraph 7, be declared or be determined to be illegal or invalid, all remaining parts, terms or
       provisions shall be valid, and the illegal or invalid part, teen ar provision shall be deemed not to
       be a part of this Agreement.

               21. Proaer Construction

                      ~. The language of all parts of this Agreement shall in all cases be const~~ued as a
        whole according to its fair meaning, and not strictly for or against any of the parties.

                        b. As used in this Agreement, the term "o~" shn1I be deemed to include the term
        "and/or" and the singular o►• plural number shall be deemed to include the other whenever the
        context so indicates or requires.
                        c. The parxgcaph headings used in this Agreement ure intended solely for
        convenience of reference and shall not in any manner amplify, limit, modify or otherwise be
        used in the interpretation of any of the ptnvisions hereof.

               22. Entire Asreement

                        This Agreement is the entire agreement between Isaacs And USC and fully
        supersedes any  and all prior agreements or understandings between the parties pe►Kaining to its
        subject matter.


                                                                                                     Iniii~cd _ n ^
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                                                                                                            o7M--




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               PLEASC READ CARI?FLiLLY. THIS CONFIDENTIAL.SETTLEMENT
       AGREEMENT AND MUTUAL RELEASE INCLUD~.S A RELEASE OF ALL KNOWN
       AND UNKNOWN CLAINiS.



                 Executed at Saint-Jwn. FRANCfi this 31'~ duy ~f March 2(}U8.




                                        By:
                                                Jeffrey lsaucs



                                                                    APR 04          2008.
                 Excx:utecl ai Los Angeles, California, this

                                        UNIVERS]TY O.F SOUTHE1tN CALIFORNIA


                                                                   ~w~+a~++o~_
                                        By:      ~             ~
                                                Dennis F. Dougherty
                                                Senior Vice President for Finance




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                                                                                        ~~r1~_




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    JeRrey D. Isaacs, M.D. v.                                                                      Christine Finn, M.D.
                                                                                                      January I5,2014
    Dartmouth Hitchcock Medical Center,et al
                                                     Page 57                                                   Page 59

     i    disorders, helps you understand different              i   directors know. 1 just know that that is not
     s    approaches that you might take to them. So             z   relevant to my day-to-day functioning as a
     3    while 1 would say I would not lie to a patient,        s   program director.
     4    1 think that there are ways that you might             a     Q. Daesn't the U.S. Government invest a
                                                                 s   sizable amount of money in the training of          I
     s    deliver information that varies from patient to
          patient based on their diagnoses. And perhaps          s   resident physicians?                                ~
     s
     ~    in that context that we were talking about it          ~         MR.CHABOT:Objection, foundation.
     s    or having that sense of transference and               s     A. Yes. The government is a major source
     s    counter transference, that you took something          s   of funding for graduate medical education in
    io    away from that session.                               io   the U.S.
            Q. So could that transference or counter            ii     Q. Would it be fair to say that the                   ',
    ii
          transference have ever made you uncomfortable         is   plastic surgeon fired from DHMC two days before         ~
    is
    i3    to narcissistic patients to the point where you       i3   she finished, that DHMC received about half a
    is    felt queasy or almost thinking about vomiting.        is   million dollars of government funding to train
    is      A. No. I would say that would not be the            is   her?
                                                                i6         MR. CHABOT: Objection, foundation.                     ~
    i6    case.
    i~      Q. Okay. So when 1 identified Traum,                i~         MR. KAPLAN:I'm going to object to
    ie     Shindler and Nunberg, would I have been the          ie   the question as well, and 1 appreciate the fact
    i9    fourth unexpected vacancy in those six months         i9   that you can finally differentiate between
    20     if I had been fired or quit?                         ao    Dartmouth and DHMC.
    2i            MR.CHABOT:['m just going to object            ai         DR.ISAACS:She wasn't with the
    sa    to the form ofthat question.                          22    psychiatry department, she was with the plastic
    a3       A. Yes. Again, I would need to look at             23    surgery department. That's actually why I did

                                                      Page 58                                                  Page 60

       i the records to determine the dates.                     i that, Attorney Kaplan.
       a  Q. Would that have a pretty big budget                 z   A. Again, 1 don't know the specifics of
       3 impact for the department if there were four            3 the reimbursement ofthe medical center by
       a vacancies?                                              4 Medicare for training.
       s       MR. CHABOT:Objection, foundation.                 s   Q. Okay. You are salaried by Dartmouth
       s  A. There are no budgetary impact on the                s College, correct?
     I ~ department as far as I know.                            ~   A. Correct
       s  Q. Doesn't the department or the hospital              e   Q. How much ofthat salary comes from
       s receive Medicare direct GME subsidies for each          s DHMC?
      io resident?                                              io   A. With my current job description
      ii   A. I'm not aware ofthe specifics of the              ii believe that the 50 percent covering my program
      i2 Medicare reimbursement for training.                   is director role.
      is  Q. So you don't know that Medicare pays               is   Q. Okay. So roughly would that be
      is about $100,000 a year for residents to train           i4 roughly in the range of$150,000 a year from
      is them?                                                  is Dartmouth Hitchcock?
      ie       MR.CHABOT:Object to the form. It's               ie   A. 1 wish. No, not at all, so--
      i~ leading and also assumes facts.                        i~   Q. Would the vacancy of four residents
      is   A. 1 do not know that.                               is just cause logistical problems in training?
      i9   Q. Do you think most program directors               i9   A. It would have the potential to,
      zo would know where the funding comes from for            ao  depending  on what year they were or what
      ai their program?                                         zi services they were rotaring on at the time.
      2a       MR.CHABOT:Objection, foundation.                 2a   Q. Was this part ofthe reason you didn't
      2s   A. I don't know what most program                    a3 fire the Plaintiff when you learned about


                                               Dully &McKenna Court Reporters                          (15)Pages 57 - 60
     E1iu-t'-ticripr'~.
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    Jeffrey D. Isaacs, M.D. v.                                                                      Christine Finn, M.D.
    Dartmouth Hitchcock Medical Center,et al                                                           January 15,2014
                                                     Page 61                                                    Page 63

        i   Arizona and USC?                                    i   Hitchcock?
        a         MR.CHABOT: Object to the form.                2    A. Not that I'm aware of.
        3    A. in terms ofthe timing, I was not                3    Q. Do you know a Dr. Ben Boswell?
        4   aware ofthe Arizona residency training until        a    A. No.
        s   we sat down at that meeting in January, that        s    Q. Have you ever heard that name, a
        s   week in January where we made the decision to       s   psychiatry resident?
        ~   place you on administrative leave. And I was        z    A. No.
        e   not aware ofthe USC Medical School issue until      s    Q. Did you know any Dr. Graves in the
        s   sometime several weeks after that.                  s   southern hemisphere?
    I, io    Q. How did you learn about USC?                   io    A. No.
       ii     A Attorney Kaplan told me.                       ii    Q. Do you know Dr. Greenaw in the sleep
       iz    Q. Why would you ask Attorney Kaplan to           iZ   department?
       is   research that?                                     is    A. Yes.
       i4         MR.CHABOT: I am going to object to           i4    Q. How do you know him?
       is   the form. ThaYs misrepresenting prior              is    A. He's one of my colleagues at DHMC.
       i6   testimony.                                         ie    Q. Are you closer to him than other
       i~    A. I did not ask him to research that.            i~   colleagues, or is he just kind ofan adjunct
       ie    Q. Did anyone at Dartmouth know about my          is   colleague?
       i9   enrollment at USC prior to that?                   i9         MR. KAPLAN:Object to the form.
       ao    A. Not to my knowledge. Sorry.                    zo    A. We have relatively little professional
       ai         MR.CHABOT:That's okay.                       ai   overlap other than his being the fellowship
       az    Q. Would you know ifsomeone did?                  2i   director for the sleep program,so most of our
       za         MR. CHABOT:1 am going to object on           23   connection is through our interest in resident

                                                     Page 62                                                    Page 64

      i     the grounds of foundation.                       i      and fellowship education.
      a      A. If someone knew and never mentioned it       a       Q. Did you ever speak to him about the
      s     to me, l would have no way of knowing that they  3      Plaintiffs sleep studies with him?
      a     knew.                                            4       A. No.
      s      Q. Actually now you     may  have learned       s       Q. Do you know a Dr. Amy Baughman?
      s     things through the lawsuit, have you learned     s       A. No.
      ~     since then that someone knew before you?         ~       Q. Have you ever heard that name?
      e      A. No.                                          e       A. No.
      s      Q. Do you know any psychiatrists at the         s       Q. Do you know a Dr. Robert Baughman?
     io     UCLA Neuropsychiatric Institute in Los Angeles? io       A. No.
     ii      A. 1 don't think so.                           ii       Q. You don't know, do you know what the
     is      Q. Have you ever spoken to a Dr. Wayne         is      NINDH is of the NIH?
     is     Sandler?                                        i3       A. No.
     i9      A. Not that I'm aware of.                      i4       Q. Could you guess what N1NDS stands for?
     i5      Q. Do you know any psychiatrists at the        is       A. That's what I'm trying to figure out.
     ie     University of Miami Teaching Program?           i6            MR.CHABOT:I'm going to instruct you
     i~      A. Yes, 1 think 1 do.                          i~      not to guess. We're not here to provide
     ie      Q. Who do you know there?                      ie      guesses or speculation.
     i9      A. Jorge Sortello.                             i9       Q. Do you know anyone at Dartmouth
     zo      Q. Anyone else?                                ao      Hitchcock or Dartmouth College that might know
     ai      A. I don't think so.                           ai      Dr. Robert Baughman?
     ~a      Q. Do you know anyone who's ever treated       az            MR.CHABOT:Objection to foundation.
     z3     the Plaintiff medically aside from Dartmouth    23        A. 1 don't know who he is, so it's hard


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   '                                         DuRy &McKenna Court Reporters                             (16)Pages 61 - 64
Case 2:19-cv-02011-DSF-RAO Document 1 Filed 03/18/19 Page 47 of 49 Page ID #:47




          fromJethey Isaacs jdi@bakerisaacs.com             Feb B
           sender-Sent at 1:41 PAA (GMT-05:Q0~ Current time
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                 to presidenCs.office(a~dartmouth.edu,
                   jim.y.kim(~dartmouth.edu

                 cc George Baker rcavu98Qa gmail.~m>

              date Mon,Feb 6, 2012 at 1:41 PM
           subject InvesfigaGon
         mailed-by t~kerisaacs,com
        Dear President Kim,

          am pleading that you help investigate a matter that is causing me
        the worst distress I have ever suffered in life. As a proud alumni of
        the College, it is my hope chat a proper irnestigation will yield the
        Wth and dear my name. For some background, 1 am attaching a avtl
        alt fled Friday in the United States District Court. However,
        believe that QaRmouth possesses evidence which goes well beyond the
        allegations in the lawsuit. Basically,[REQACTED PREVIOUS LITIGATION]six years ago.
        Subsequently, I believe that I am a victim
        offraud end bladcmaii, perpetrated by several Dartmouth College
        psychiatry professors.'this is not just my belief, it is the strong
        suspicion of my parents, friends, and others, wham I give you lull
        permission to speak to as part of any investigation oc~dsred by
         yourself or the Trustees.

         am asking the College for help on this matter
        [redacted]

        Please consider my request and do nat hesitaie to contact me for any
        further Information.


         Regards,
         JeBrey Isaacs
Case 2:19-cv-02011-DSF-RAO Document 1 Filed 03/18/19 Page 48 of 49 Page ID #:48


    Jeffrey D.Isaacs, M.D. v.                                                                    Christine Finn, M.D.
                                                                                                    January i5.2014
    Dartmouth Hitchcock Medical Center,et al
                                                    Page 293                                                Page 295 j

     1  A. It does say that.                                     i decisions?
     a  Q. So wouldn't it be assumed they didn't                 2  A. Yes.
     3 find anything wrong, or do you think they found           s  Q. So if they decided that there was no
     a something wrong and just chose to honor my                a problem with USC on my application, would your
     s request?                                                  s statement on the termination letter be wrong?
     s       MR.CHABOT: Objection, foundation.                   s       MR. CHABOT: I'm going to object to
     ~       MR. KAPLAN: Objection, foundation.                  ~ the question for the reasons stated by Attorney
     e   A. I can't really say.                                  s Kaplan earlier.
     9  Q. So you think it's possible that they                  s   A. What was the question?
    io determined against me but chose not to tell              io  Q . I'll just repeat it.
    ii anyone?                                                  ii   (The record was read as requested.)
    is        MR.CHABOT:Same objection.                         is       MR. CHABOT: Did you get that, Dr.
    is   A. f'm not familiar with their policies                is Finn?
    i~ or procedures regarding the application                  i4   A. I guess I'm still not clear what
    is requirements.                                            is statement   you're referring to, the statement,
    is   Q. if they agreed with my interpretation               is that that together with the other concerns.
    i~ ofthe two settlement agreements, would you               i~   Q. So you enumerated certain items in
    is believe that you were wrong on your termination          ie the termination letter. One ofthem was you
    i9 letter regarding USC?                                    i9 failed to disclose USC Keck on your ERAS
    so        MR. KAPLAN: Note my objection.                    ao application. So there's that statement which
    zi   A. 1 think that the USC information was                2i is an enumerated cause oftermination among
    z2 in line with other previous concerns about               22 about six others. But that statement is what
    as lying, but again, was not found out until                23 I'm referring to. And we can go back and look,

                                                     Page 294                                                Page 298

       i significantly after the decision was already            i but that statement, if ERAS investigations
       z made.                                                   a determined differently, would you say you were
       3  Q. But you do have to answer the                       s wrong or would you disagree with ERAS?
       a question. Do you think you were wrong on the            4       MR. CHABOT: Hypothetically speaking?
       s USC matter and the termination letter if                s   Q. f don't think it's hypothetical. She
       s indeed ERAS agreed with interpretation ofthe            s just doesn't know who ERAS investigations is,
       ~ settlement?                                             ~ but it's not really hypothetical.
       s       MR. KAPLAN: Cm going to object to                 s        MR. CHABOT:That's also not what the
       s the question because it calls for a conclusion          s document says. Just note my objection.
      io I don't believe this wifiess is qualified to           io        MR. KAPLAN:Note my objection as well.
      ii make, but you can go ahead.                            ii   Q. Well, I don't think it's a
     iia   A. I think the general omission was the              is  hypothetic al, but if that's how she wants to
      i3 concern.   It was never specific to the USC            is answer it.
      is complaint.                                             i4   A. It's hypothetical in the sense that
     lis   Q. 1'll rephrase the question. Is ERAS               i5 this information was not available to me at
      ie or is AAMC the administrator for ERAS? Do they         i6 that time.
      i~ have authority over their service?                     i~   Q. I'm saying now. Now if you agree that
      ie    A 1 don't know.                                     is they made that determination but you don't seem
      i9   Q. Don't they have an investigation unit             i9 to know but if that was proven to you, would
      ao called ERAS Investigations?                            20 you then believe your letter, that enumerated
      2i   A. 1 don't know.                                     2i item was wrong or would you think they were
      za   Q. So would you trust, if they do have an            zz incorrect, ERAS?
      as investigation unit, would you trust their              a3        MR. CHABOT:Objection to the form of


                                               Duffy &McKenna Court Reporters                      (74)Pages 293-296
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Case 2:19-cv-02011-DSF-RAO Document 1 Filed 03/18/19 Page 49 of 49 Page ID #:49




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